 Case 2:21-cv-06422-FLA-MAA Document 29 Filed 09/29/21 Page 1 of 3 Page ID #:1058



1                                                                                JS-6
2
3
4
5
6
7
8                           UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10
11   JANICE FOX,                                    Case No. 2:21-cv-06422-FLA (MAAx)
12                             Plaintiff,
                                                    ORDER REMANDING ACTION TO
13                v.                                LOS ANGELES SUPERIOR COURT
14
     THEODORE FOX, et al.,
15
                               Defendants.
16
17
18         Plaintiff Janice Fox (“Plaintiff”) filed this action in Los Angeles Superior Court
19   on May 14, 2021 alleging fourteen causes of action, comprising thirteen state law
20   claims and one federal claim for “Civil RICO” under 18 U.S.C. § 1962. Dkt. 1-1.
21   Defendants Ultimate Action, LLC (“Ultimate”), Supreme Studios, LLC (“Supreme
22   Studios”), TF Properties #2, LLC (“TF Properties #2”), TF Properties #3, LLC (“TF
23   Properties #3”), Theodore Fox, and Barry Fox (collectively, “Defendants”) removed
24   this action to this court on August 9, 2021, on the grounds that the court had federal
25   question jurisdiction because of Plaintiff’s Civil RICO claim. Dkt. 1 at 2-3.
26         On August 16, 2021, Defendants Ultimate, Supreme Studios, TF Properties #2,
27   and TF Properties #3 (“Moving Defendants”) filed a Motion to Dismiss the eleventh
28

                                                1
 Case 2:21-cv-06422-FLA-MAA Document 29 Filed 09/29/21 Page 2 of 3 Page ID #:1059



1    and thirteenth causes of action of the Complaint. Dkt. 7. Plaintiff filed a Motion to
2    Remand Action on August 20, 2021 (“Plaintiff’s Motion to Remand”). Dkt. 9.
3          On August 27, 2021, Plaintiff filed the operative First Amended Complaint
4    (“FAC”), abandoning the federal Civil RICO claim. The FAC asserts only thirteen
5    causes of action under state law for: (1) elder abuse by isolation, (2) elder abuse –
6    financial, (3) breach of fiduciary duty, (4) imposition of constructive trust, (5) unjust
7    enrichment, (6) invalidity of trust amendment – will contest, (7) intentional
8    interference with inheritance rights, (8) demand for accounting, (9) petition to declare
9    Special Trustee Agreement invalid, (10) petition to declare the irrevocable Bearbiz
10   Trust invalid, (11-12) accounting, and (13) intentional infliction of emotional distress.
11   Dkt. 15.1
12         On September 1, 2021, the court ordered the parties to meet and confer
13   regarding Plaintiff’s Motion to Remand in light of the FAC, and to file a joint report
14   regarding whether Defendants intended to continue opposing the motion or a
15   stipulation to remand the action. Dkt. 19. Moving Defendants filed a Motion to
16   Dismiss Plaintiff’s 12th Cause of Action (the “Second Motion to Dismiss”) on
17   September 10, 2021. Dkt. 24.
18         On September 24, 2021, the parties filed timely a joint status report, stating they
19   were unable to come to an agreement regarding remanding the action. Dkt. 27.
20   Plaintiff contends the action should be remanded in its entirety and that the Los
21   Angeles Superior Court should decide any motion challenging the sufficiency of the
22   pleadings. Id. at 1-2. Defendants recognize that the court “unquestionably has
23   discretion to remand the case to state court now that Plaintiff has dropped her RICO
24
25   1
       Plaintiff asserts: (a) the first, second, sixth, and seventh causes of action against
26   Theodore and Barry Fox; (b) the third through fifth, eighth through eleventh, and
27   thirteenth causes of action against Theodore Fox; and (c) the twelfth cause of action
     against Theodore Fox, Ultimate Action, Supreme Studios, TF Properties 2, and TF
28   Properties 3.
                                                 2
 Case 2:21-cv-06422-FLA-MAA Document 29 Filed 09/29/21 Page 3 of 3 Page ID #:1060



1    claim,” but requests the court exercise its discretion to rule on the Second Motion to
2    Dismiss before remand. Id. at 7.
3          Having reviewed the parties’ joint status report and considered the parties’
4    arguments therein, the court declines to exercise supplemental jurisdiction over the
5    remaining state law claims pursuant to 28 U.S.C. § 1367(c)(3) and REMANDS the
6    action to the Los Angeles Superior Court without ruling on the Second Motion to
7    Dismiss.
8          IT IS SO ORDERED.
9
10   Dated: September 29, 2021
11                                               ______________________________
12                                               FERNANDO L. AENLLE-ROCHA
                                                 United States District Judge
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                3
